            Case 19-32779-hdh7 Doc 1 Filed 08/21/19                                      Entered 08/21/19 17:03:15                          Page 1 of 65
 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 NORTHERN DISTRICT OF TEXAS

 Case number (if known):                                      Chapter you are filing under:

                                                                       Chapter 7
                                                                       Chapter 11
                                                                       Chapter 12
                                                                                                                                 Check if this is an
                                                                       Chapter 13
                                                                                                                                  amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                    12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                       About Debtor 1:                                           About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                       Jeffrey                                                   Kimberly
     government-issued picture
                                       First Name                                                First Name
     identification (for example,
     your driver's license or          W                                                         Jill
     passport).                        Middle Name                                               Middle Name

                                       Hightower                                                 Hightower
     Bring your picture                Last Name                                                 Last Name
     identification to your meeting
                                       Jr.
     with the trustee.                 Suffix (Sr., Jr., II, III)                                Suffix (Sr., Jr., II, III)


2.   All other names you               Jeff
     have used in the last 8           First Name                                                First Name
     years
                                       Middle Name                                               Middle Name
     Include your married or
                                       Hightower
     maiden names.
                                       Last Name                                                 Last Name


3.   Only the last 4 digits of
     your Social Security              xxx – xx –                   5        5       1    4      xxx – xx –                   8         7        4      6
     number or federal                 OR                                                        OR
     Individual Taxpayer
     Identification number             9xx – xx –                                                9xx – xx –
     (ITIN)

4.   Any business names                      I have not used any business names or EINs.              I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in            Business name                                             Business name
     the last 8 years
                                       Business name                                             Business name
     Include trade names and
     doing business as names
                                       Business name                                             Business name




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 1
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Debtor 1     Jeffrey W Hightower, Jr.
Debtor 2     Kimberly Jill Hightower                                                        Case number (if known)

                                   About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

                                                –                                                           –
                                   EIN                                                          EIN

                                                –                                                           –
                                   EIN                                                          EIN
5.   Where you live                                                                             If Debtor 2 lives at a different address:

                                   4557 S Versailles Ave
                                   Number       Street                                          Number      Street




                                   Dallas                          TX       75205
                                   City                            State    ZIP Code            City                           State    ZIP Code

                                   Dallas
                                   County                                                       County

                                   If your mailing address is different from                    If Debtor 2's mailing address is different
                                   the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                   court will send any notices to you at this                   will send any notices to you at this mailing
                                   mailing address.                                             address.



                                   Number       Street                                          Number      Street


                                   P.O. Box                                                     P.O. Box


                                   City                            State    ZIP Code            City                           State    ZIP Code


6.   Why you are choosing          Check one:                                                   Check one:
     this district to file for
     bankruptcy                           Over the last 180 days before filing this                  Over the last 180 days before filing this
                                           petition, I have lived in this district longer              petition, I have lived in this district longer
                                           than in any other district.                                 than in any other district.


                                          I have another reason. Explain.                            I have another reason. Explain.
                                           (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the          Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you         for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
                                          Chapter 7
     under                       
                                         Chapter 11

                                         Chapter 12

                                         Chapter 13




Official Form 101                         Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
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Debtor 1     Jeffrey W Hightower, Jr.
Debtor 2     Kimberly Jill Hightower                                                  Case number (if known)

8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                        court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                        pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                        behalf, your attorney may pay with a credit card or check with a pre-printed address.


                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                        Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                        By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                        than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                        fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                        Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for                No
     bankruptcy within the
     last 8 years?                     Yes.

                                 District                                                 When                    Case number
                                                                                                 MM / DD / YYYY
                                 District                                                 When                    Case number
                                                                                                 MM / DD / YYYY
                                 District                                                 When                    Case number
                                                                                                 MM / DD / YYYY

10. Are any bankruptcy                 No
    cases pending or being
    filed by a spouse who is           Yes.
    not filing this case with
                                 Debtor                                                               Relationship to you
    you, or by a business
    partner, or by an            District                                                 When                    Case number,
    affiliate?                                                                                   MM / DD / YYYY   if known


                                 Debtor                                                               Relationship to you

                                 District                                                 When                    Case number,
                                                                                                 MM / DD / YYYY   if known

11. Do you rent your                   No.    Go to line 12.
    residence?
                                       Yes. Has your landlord obtained an eviction judgment against you?

                                                   No. Go to line 12.
                                                   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                    and file it as part of this bankruptcy petition.




Official Form 101                        Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
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Debtor 1     Jeffrey W Hightower, Jr.
Debtor 2     Kimberly Jill Hightower                                                    Case number (if known)


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor            No. Go to Part 4.
    of any full- or part-time
    business?
                                         Yes. Name and location of business


    A sole proprietorship is a
                                                Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as               Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                   City                                                    State          ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                Check the appropriate box to describe your business:
    to this petition.
                                                      Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                      Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                      Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                      None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business         or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                         No.   I am not filing under Chapter 11.

                                         No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).
                                         Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                               Bankruptcy Code.


 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any               No
    property that poses or is
    alleged to pose a threat of
                                         Yes. What is the hazard?

    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                     If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or              Where is the property?
    a building that needs urgent                                           Number    Street
    repairs?



                                                                           City                                     State         ZIP Code




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Debtor 1     Jeffrey W Hightower, Jr.
Debtor 2     Kimberly Jill Hightower                                                     Case number (if known)


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received a
    briefing about
                             I received a briefing from an approved credit               I received a briefing from an approved credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                     filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.                certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
    briefing about credit    I received a briefing from an approved credit               I received a briefing from an approved credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,
    you are not eligible     I certify that I asked for credit counseling                I certify that I asked for credit counseling
                               services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                             I am not required to receive a briefing about               I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:

                                  Incapacity.    I have a mental illness or a mental          Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.

                                  Disability.    My physical disability causes me             Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.

                                  Active duty. I am currently on active military              Active duty. I am currently on active military
                                                duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.




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                                               Certificate Number: 12459-TXN-CC-033241314


                                                              12459-TXN-CC-033241314




                    CERTIFICATE OF COUNSELING

I CERTIFY that on August 12, 2019, at 12:29 o'clock PM PDT, Jeffrey W.
Hightower, Jr. received from Abacus Credit Counseling, an agency approved
pursuant to 11 U.S.C. 111 to provide credit counseling in the Northern District of
Texas, an individual [or group] briefing that complied with the provisions of 11
U.S.C. 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   August 12, 2019                        By:      /s/Alissa DeMarco


                                               Name: Alissa DeMarco


                                               Title:   Credit Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
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                                               Certificate Number: 12459-TXN-CC-033241315


                                                              12459-TXN-CC-033241315




                    CERTIFICATE OF COUNSELING

I CERTIFY that on August 12, 2019, at 12:29 o'clock PM PDT, Kimberly
Hightower received from Abacus Credit Counseling, an agency approved
pursuant to 11 U.S.C. 111 to provide credit counseling in the Northern District of
Texas, an individual [or group] briefing that complied with the provisions of 11
U.S.C. 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   August 12, 2019                        By:      /s/Alissa DeMarco


                                               Name: Alissa DeMarco


                                               Title:   Credit Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
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Debtor 1     Jeffrey W Hightower, Jr.
Debtor 2     Kimberly Jill Hightower                                                    Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you      16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                  as "incurred by an individual primarily for a personal, family, or household purpose."
                                            No. Go to line 16b.
                                            Yes. Go to line 17.
                                   16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                            No. Go to line 16c.
                                            Yes. Go to line 17.
                                   16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                            No.   I am not filing under Chapter 7. Go to line 18.
                                   
    Do you estimate that after           Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                         No
    are paid that funds will be
                                                    Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                1-49                             1,000-5,000                         25,001-50,000
    you estimate that you                 50-99                             5,001-10,000                         50,001-100,000
    owe?
                                                                                                         
                                         100-199                          10,001-25,000                       More than 100,000
                                         200-999

19. How much do you                      $0-$50,000                       $1,000,001-$10 million              $500,000,001-$1 billion
    estimate your assets to               $50,001-$100,000                  $10,000,001-$50 million              $1,000,000,001-$10 billion
    be worth?
                                                                                                         
                                         $100,001-$500,000                $50,000,001-$100 million            $10,000,000,001-$50 billion
                                         $500,001-$1 million              $100,000,001-$500 million           More than $50 billion

20. How much do you                      $0-$50,000                       $1,000,001-$10 million              $500,000,001-$1 billion
    estimate your liabilities to          $50,001-$100,000                  $10,000,001-$50 million              $1,000,000,001-$10 billion
    be?
                                                                                                         
                                         $100,001-$500,000                $50,000,001-$100 million            $10,000,000,001-$50 billion
                                         $500,001-$1 million              $100,000,001-$500 million           More than $50 billion

 Part 7:      Sign Below
For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                   and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                   or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                   proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                                   fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                   connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                   or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                   X /s/ Jeffrey W Hightower, Jr.                              X /s/ Kimberly Jill Hightower
                                       Jeffrey W Hightower, Jr., Debtor 1                         Kimberly Jill Hightower, Debtor 2

                                       Executed on 08/21/2019                                     Executed on 08/21/2019
                                                   MM / DD / YYYY                                             MM / DD / YYYY


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Debtor 1     Jeffrey W Hightower, Jr.
Debtor 2     Kimberly Jill Hightower                                                 Case number (if known)

For your attorney, if you are    I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one               eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                 relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by    the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need     certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.               is incorrect.



                                 X /s/ Howard Marc Spector                                             Date 08/21/2019
                                    Signature of Attorney for Debtor                                        MM / DD / YYYY


                                    Howard Marc Spector
                                    Printed name
                                    Spector & Johnson, PLLC
                                    Firm Name
                                    12770 Coit Road
                                    Number          Street
                                    Suite 1100




                                    Dallas                                                     TX              75251
                                    City                                                       State           ZIP Code


                                    Contact phone (214) 365-5377                     Email address hms7@cornell.edu


                                    00785023                                                   TX
                                    Bar number                                                 State




Official Form 101                       Voluntary Petition for Individuals Filing for Bankruptcy                                           page 7
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  Fill in this information to identify your case and this filing:
  Debtor 1               Jeffrey                     W                    Hightower, Jr.
                         First Name                  Middle Name          Last Name

  Debtor 2            Kimberly                       Jill                 Hightower
  (Spouse, if filing) First Name                     Middle Name          Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number
  (if known)                                                                                                                    Check if this is an
                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                     12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

           No. Go to Part 2.
           Yes. Where is the property?

1.1.                                                        What is the property?                          Do not deduct secured claims or exemptions. Put the
4557 S. Versailles Ave.                                     Check all that apply.                          amount of any secured claims on Schedule D:
Street address, if available, or other description              Single-family home                         Creditors Who Have Claims Secured by Property.
                                                            
                                                               Duplex or multi-unit building              Current value of the            Current value of the
                                                                Condominium or cooperative                 entire property?                portion you own?
                                                            
Dallas                           TX       75205                Manufactured or mobile home                         $1,173,000.00                $1,173,000.00
City                             State    ZIP Code
                                                               Land
                                                               Investment property                        Describe the nature of your ownership
                                                                Timeshare                                  interest (such as fee simple, tenancy by the
                                                                                                          entireties, or a life estate), if known.
                                                               Other
County

                                                            Who has an interest in the property?
                                                                                                           SINGLE FAMILY HOME
4557 S. Versailles Ave. Dallas Texas                        Check one.
75205
                                                               Debtor 1 only                                 Check if this is community property
3400 Square foot, 4 bedroom 3.5 bath,
                                                                Debtor 2 only                                  (see instructions)
2 car attached garage, pool, .25 acre                       
lot                                                            Debtor 1 and Debtor 2 only
                                                               At least one of the debtors and another

                                                            Other information you wish to add about this item, such as local
                                                            property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.........................................................          $1,173,000.00




Official Form 106A/B                                                    Schedule A/B: Property                                                             page 1
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Debtor 1         Jeffrey W Hightower, Jr.
Debtor 2         Kimberly Jill Hightower                                                           Case number (if known)


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

          No
          Yes

3.1.                                                  Who has an interest in the property?               Do not deduct secured claims or exemptions. Put the
Make:                    Land Rover                   Check one.                                         amount of any secured claims on Schedule D:
                                                          Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                   Range Rover Sport            
                                                         Debtor 2 only                           Current value of the                   Current value of the
Year:                    2016                                                                     entire property?                       portion you own?
                                                         Debtor 1 and Debtor 2 only
Approximate mileage: 50,000                               At least one of the debtors and another
                                                                                                            $40,000.00                           $40,000.00
Other information:
2016 Land Rover Range Rover Sport                        Check if this is community property
                                                          (see instructions)
3.2.                                                  Who has an interest in the property?               Do not deduct secured claims or exemptions. Put the
Make:                    Mercedes                     Check one.                                         amount of any secured claims on Schedule D:
                                                          Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                   SL380                        
                                                         Debtor 2 only                           Current value of the                   Current value of the
Year:                    1985                                                                     entire property?                       portion you own?
                                                         Debtor 1 and Debtor 2 only
Approximate mileage:                                      At least one of the debtors and another
                                                                                                                $500.00                              $500.00
Other information:
1985 Mercedes SL380                                      Check if this is community property
                                                          (see instructions)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

          No
          Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.........................................................             $40,500.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                         Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                         portion you own?
                                                                                                                                         Do not deduct secured
                                                                                                                                         claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware

          No
          Yes. Describe..... 2 Sofa(s), 4 tvs, stereo equipment, video game system, coffee table, end                                            $30,000.00
                               tables, kitchen table, dining table, china cabinet, fridge/freezer, stove,
                               microwave, dish washer, washer/dryer, dishes, silverware, pots/pans, 3
                               beds, nightstands, lamps, misc household goods

7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games

          No
          Yes. Describe..... included in above                                                                                                         $0.00




Official Form 106A/B                                                Schedule A/B: Property                                                               page 2
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Debtor 1         Jeffrey W Hightower, Jr.
Debtor 2         Kimberly Jill Hightower                                                                                          Case number (if known)

8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

          No
          Yes. Describe..... novels/children's books/reference                                                                                                                                   $100.00

9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                canoes and kayaks; carpentry tools; musical instruments

          No
          Yes. Describe..... tennis rackets, soccer equipment, football, table tennis paddles, 4 bikes, 2                                                                                      $3,000.00
                                        sets of golf clubs, piano, guitar, ukelele

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment

          No
          Yes. Describe.....


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

          No
          Yes. Describe..... Clothing / Wearing Apparel for family of 4                                                                                                                          $200.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver

          No
          Yes. Describe..... Weddings rings (2), watches, earrings, necklaces, bracelets, various                                                                                             $20,000.00
                                        costume jewelry

13. Non-farm animals
    Examples: Dogs, cats, birds, horses

          No
          Yes. Describe..... Guinea Pig                                                                                                                                                            $20.00

14. Any other personal and household items you did not already list, including any health aids you
    did not list

          No
          Yes. Give specific
           information.............


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here........................................................................................................                                        $53,320.00


  Part 4:          Describe Your Financial Assets
                                                                                                                                                                                      Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                      portion you own?
                                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                                      claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition

          No
          Yes.................................................................................................................................... Cash: ..........................               $300.00




Official Form 106A/B                                                                     Schedule A/B: Property                                                                                       page 3
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Debtor 1         Jeffrey W Hightower, Jr.
Debtor 2         Kimberly Jill Hightower                                                             Case number (if known)

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

          No
          Yes............................              Institution name:

            17.1.       Checking account:               LegacyTexas (Checking 1698)                                                        $48.21
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts

          No
          Yes............................    Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture

          No
          Yes. Give specific
           information about
           them..........................     Name of entity:                                                    % of ownership:

                                              Hightower Law Group, PLLC                                               100%                  $0.00
                                              JHLaw, PLLC                                                                                   $0.00
                                              Elisylou's Cotton Candy, LLC                                                                  $0.00
                                              Papa and Henry Tennis Friends, LLC                                                            $0.00
                                              Puzzle Map, LLC                                                                               $0.00
                                              Hightower Motors, LLC                                                                         $0.00
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

          No
          Yes. Give specific
           information about
           them..........................     Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans

          No
          Yes. List each
           account separately.               Type of account:       Institution name:
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

          No
          Yes............................                       Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
     No
     Yes............................ Issuer name and description:




Official Form 106A/B                                                        Schedule A/B: Property                                           page 4
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Debtor 1         Jeffrey W Hightower, Jr.
Debtor 2         Kimberly Jill Hightower                                                            Case number (if known)

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

          No
          Yes............................   Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit

          No
          Yes. Give specific     contingent beneficial interst in Tommy Barnhart Trust                                                                 $0.00
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

          No
          Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

          No
          Yes. Give specific     Law license (Texas, Colorado, Utah)                                                                                   $1.00
           information about them

Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                         portion you own?
                                                                                                                                         Do not deduct secured
                                                                                                                                         claims or exemptions.

28. Tax refunds owed to you

          No
          Yes. Give specific information                                                                                     Federal:
           about them, including whether
           you already filed the returns                                                                                      State:
           and the tax years......................
                                                                                                                              Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

          No
          Yes. Give specific information                                                                         Alimony:

                                                                                                                  Maintenance:

                                                                                                                  Support:

                                                                                                                  Divorce settlement:

                                                                                                                  Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else

          No
          Yes. Give specific information




Official Form 106A/B                                                    Schedule A/B: Property                                                           page 5
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Debtor 1         Jeffrey W Hightower, Jr.
Debtor 2         Kimberly Jill Hightower                                                                         Case number (if known)

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

          No
          Yes. Name the insurance
           company of each policy
           and list its value................    Company name:                                              Beneficiary:                               Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died

          No
          Yes. Give specific information


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue

          No
          Yes. Describe each claim........


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims

          No
          Yes. Describe each claim........


35. Any financial assets you did not already list

          No
          Yes. Give specific information


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................                $349.21


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

          No. Go to Part 6.
          Yes. Go to line 38.

                                                                                                                                                           Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.
38. Accounts receivable or commissions you already earned

          No
          Yes. Describe..


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices

          No
          Yes. Describe.. Desks/chairs/ computers                                                                                                                   $2,500.00

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

          No
          Yes. Describe..




Official Form 106A/B                                                         Schedule A/B: Property                                                                        page 6
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Debtor 1         Jeffrey W Hightower, Jr.
Debtor 2         Kimberly Jill Hightower                                                                         Case number (if known)

41. Inventory

          No
          Yes. Describe..


42. Interests in partnerships or joint ventures

          No
          Yes. Describe..... Name of entity:                                                                                     % of ownership:

43. Customer lists, mailing lists, or other compilations

          No
          Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                 No
                 Yes. Describe.....
44. Any business-related property you did not already list

          No
          Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................              $2,500.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
               If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

          No. Go to Part 7.
          Yes. Go to line 47.


                                                                                                                                                           Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish

          No
          Yes....


48. Crops--either growing or harvested

          No
          Yes. Give specific
           information................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

          No
          Yes....


50. Farm and fishing supplies, chemicals, and feed

          No
          Yes....


51. Any farm- and commercial fishing-related property you did not already list

          No
          Yes. Give specific
           information................


Official Form 106A/B                                                         Schedule A/B: Property                                                                        page 7
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Debtor 1          Jeffrey W Hightower, Jr.
Debtor 2          Kimberly Jill Hightower                                                                                   Case number (if known)

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................                                  $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

           No
           Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.............................................                                                        $0.00


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................              $1,173,000.00

56. Part 2: Total vehicles, line 5                                                                                 $40,500.00

57. Part 3: Total personal and household items, line 15                                                            $53,320.00

58. Part 4: Total financial assets, line 36                                                                             $349.21

59. Part 5: Total business-related property, line 45                                                                 $2,500.00

60. Part 6: Total farm- and fishing-related property, line 52                                                               $0.00

61. Part 7: Total other property not listed, line 54                                              +                         $0.00

                                                                                                                                          Copy personal
62. Total personal property.                  Add lines 56 through 61..................                            $96,669.21             property total                  +        $96,669.21


63. Total of all property on Schedule A/B.                         Add line 55 + line 62................................................................................          $1,269,669.21




Official Form 106A/B                                                                Schedule A/B: Property                                                                                page 8
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 Fill in this information to identify your case:
 Debtor 1            Jeffrey              W                      Hightower, Jr.
                     First Name           Middle Name            Last Name
 Debtor 2            Kimberly             Jill                   Hightower
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS
                                                                                                                    Check if this is an
 Case number                                                                                                         amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.

         You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
         You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                       $1,173,000.00                                   Const. art. 16 §§ 50, 51, Texas
4557 S. Versailles Ave. Dallas Texas                                             100% of fair market     Prop. Code §§ 41.001-.002
75205                                                                             value, up to any
3400 Square foot, 4 bedroom 3.5 bath, 2                                           applicable statutory
car attached garage, pool, .25 acre lot                                           limit
Line from Schedule A/B: 1.1

Brief description:                                         $40,000.00                                    Tex. Prop. Code §§ 42.001(a),
2016 Land Rover Range Rover Sport                                                100% of fair market     42.002(a)(9)
(approx. 50,000 miles)                                                            value, up to any
Line from Schedule A/B: 3.1                                                       applicable statutory
                                                                                  limit




3.   Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

         No
         Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           No
           Yes
Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
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Debtor 1      Jeffrey W Hightower, Jr.
Debtor 2      Kimberly Jill Hightower                                                Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $500.00                                   Tex. Prop. Code §§ 42.001(a),
1985 Mercedes SL380                                                         100% of fair market    42.002(a)(9)
                                                                             value, up to any
Line from Schedule A/B:    3.2
                                                                             applicable statutory
                                                                             limit

Brief description:                                     $30,000.00                                  Tex. Prop. Code §§ 42.001(a),
2 Sofa(s), 4 tvs, stereo equipment, video                                   100% of fair market    42.002(a)(1)
game system, coffee table, end tables,                                       value, up to any
kitchen table, dining table, china cabinet,                                  applicable statutory
fridge/freezer, stove, microwave, dish                                       limit
washer, washer/dryer, dishes, silverware,
pots/pans, 3 beds, nightstands, lamps,
misc household goods
Line from Schedule A/B:   6

Brief description:                                        $0.00                   $0.00            Tex. Prop. Code §§ 42.001(a),
included in above                                                           100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                                   Tex. Prop. Code §§ 42.001(a),
novels/children's books/reference                                           100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     8
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $3,000.00                                  Tex. Prop. Code §§ 42.001(a),
tennis rackets, soccer equipment, football,                                 100% of fair market    42.002(a)(1)
table tennis paddles, 4 bikes, 2 sets of golf                                value, up to any
clubs, piano, guitar, ukelele                                                applicable statutory
Line from Schedule A/B:   9                                                  limit

Brief description:                                       $200.00                                   Tex. Prop. Code §§ 42.001(a),
Clothing / Wearing Apparel for family of 4                                  100% of fair market    42.002(a)(5)
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                     $20,000.00                                  Tex. Prop. Code §§ 42.001(a),
Weddings rings (2), watches, earrings,                                      100% of fair market    42.002(a)(6)
necklaces, bracelets, various costume                                        value, up to any
jewelry                                                                      applicable statutory
Line from Schedule A/B: 12                                                   limit

Brief description:                                       $20.00                   $20.00           Tex. Prop. Code §§ 42.001(a),
Guinea Pig                                                                  100% of fair market    42.002(a)(11)
                                                                             value, up to any
Line from Schedule A/B:    13
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
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Debtor 1      Jeffrey W Hightower, Jr.
Debtor 2      Kimberly Jill Hightower                                                Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $2,500.00                                  Tex. Prop. Code §§ 42.001(a),
Desks/chairs/ computers                                                     100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:    39
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3
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  Fill in this information to identify your case:
  Debtor 1             Jeffrey               W                      Hightower, Jr.
                       First Name            Middle Name            Last Name

  Debtor 2            Kimberly               Jill                   Hightower
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number
  (if known)                                                                                                          Check if this is an
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?

            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                                   $0.00         $1,173,000.00
Dallas County                                    4557 S. Versailles Ave. Dallas
Creditor's name
1201 Elm St., Suite 2600                         Texas 75205
Number       Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Dallas                   TX      75270            Unliquidated
City                     State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                   Taxes
       to a community debt
Date debt was incurred                           Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                                     $0.00

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                         page 1
              Case 19-32779-hdh7 Doc 1 Filed 08/21/19                           Entered 08/21/19 17:03:15                    Page 22 of 65
Debtor 1        Jeffrey W Hightower, Jr.
Debtor 2        Kimberly Jill Hightower                                                   Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.2                                         Describe the property that
                                              secures the claim:                                    $0.00        $1,173,000.00
Dallas County Community College               4557 S. Versailles Ave. Dallas
Creditor's name
1201 Elm St., Suite 2600                      Texas 75205
Number      Street


                                              As of the date you file, the claim is: Check all that apply.
                                               Contingent
Dallas                  TX      75270          Unliquidated
City                    State   ZIP Code
                                               Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                Taxes
       to a community debt
Date debt was incurred                        Last 4 digits of account number

  2.3                                         Describe the property that
                                              secures the claim:                           $499,579.38           $1,173,000.00
Frost
Creditor's name
                                              4557 S. Versailles Ave. Dallas
PO Box 34746                                  Texas 75205
Number      Street


                                              As of the date you file, the claim is: Check all that apply.
                                               Contingent
San Antonio             TX      78265          Unliquidated
City                    State   ZIP Code
                                               Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                HELOC
       to a community debt
Date debt was incurred          07/05/2017    Last 4 digits of account number        9     0    0    1




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $499,579.38

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2
              Case 19-32779-hdh7 Doc 1 Filed 08/21/19                           Entered 08/21/19 17:03:15                    Page 23 of 65
Debtor 1        Jeffrey W Hightower, Jr.
Debtor 2        Kimberly Jill Hightower                                                   Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.4                                         Describe the property that
                                              secures the claim:                                   $0.00         $1,173,000.00
Highland Park                                 4557 S. Versailles Ave. Dallas
Creditor's name
1201 Elm St., Suite 2600                      Texas 75205
Number      Street


                                              As of the date you file, the claim is: Check all that apply.
                                               Contingent
Dallas                  TX      75270          Unliquidated
City                    State   ZIP Code
                                               Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                Taxes
       to a community debt
Date debt was incurred                        Last 4 digits of account number

  2.5                                         Describe the property that
                                              secures the claim:                                   $0.00         $1,173,000.00
Highland Park ISD
Creditor's name
                                              4557 S. Versailles Ave. Dallas
1201 Elm St., Suite 2600                      Texas 75205
Number      Street


                                              As of the date you file, the claim is: Check all that apply.
                                               Contingent
Dallas                  TX      75270          Unliquidated
City                    State   ZIP Code
                                               Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                Taxes
       to a community debt
Date debt was incurred                        Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                                  $0.00

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3
              Case 19-32779-hdh7 Doc 1 Filed 08/21/19                           Entered 08/21/19 17:03:15                    Page 24 of 65
Debtor 1        Jeffrey W Hightower, Jr.
Debtor 2        Kimberly Jill Hightower                                                   Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.6                                         Describe the property that
                                              secures the claim:                            $33,326.42              $40,000.00
Huntington                                    2016 Land Rover Range Rover
Creditor's name
PO Box 182519                                 Sport
Number      Street


                                              As of the date you file, the claim is: Check all that apply.
                                               Contingent
Columbus                OH      43218-2519     Unliquidated
City                    State   ZIP Code
                                               Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                Car Loan
       to a community debt
Date debt was incurred          04/30/2018    Last 4 digits of account number        9     3    2    4

  2.7                                         Describe the property that
                                              secures the claim:                           $546,917.79           $1,173,000.00
Legacy Texas Bank
Creditor's name
                                              4557 S. Versailles Ave. Dallas
PO Box 869105                                 Texas 75205
Number      Street


                                              As of the date you file, the claim is: Check all that apply.
                                               Contingent
Plano                   TX      75086          Unliquidated
City                    State   ZIP Code
                                               Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                Mortgage
       to a community debt
Date debt was incurred          08/18/2015    Last 4 digits of account number        1     8    9    9




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $580,244.21

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 4
              Case 19-32779-hdh7 Doc 1 Filed 08/21/19                           Entered 08/21/19 17:03:15                    Page 25 of 65
Debtor 1        Jeffrey W Hightower, Jr.
Debtor 2        Kimberly Jill Hightower                                                   Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.8                                         Describe the property that
                                              secures the claim:                                   $0.00         $1,173,000.00
Parkland Hospital                             4557 S. Versailles Ave. Dallas
Creditor's name
1201 Elm St., Suite 2600                      Texas 75205
Number      Street


                                              As of the date you file, the claim is: Check all that apply.
                                               Contingent
Dallas                  TX      75270          Unliquidated
City                    State   ZIP Code
                                               Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                Taxes
       to a community debt
Date debt was incurred                        Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                                  $0.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                      $1,079,823.59

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 5
             Case 19-32779-hdh7 Doc 1 Filed 08/21/19                                Entered 08/21/19 17:03:15                      Page 26 of 65
  Fill in this information to identify your case:
  Debtor 1             Jeffrey               W                      Hightower, Jr.
                       First Name            Middle Name            Last Name

  Debtor 2            Kimberly               Jill                   Hightower
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number
  (if known)                                                                                                           Check if this is an
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
           Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1                                                                                                $5,000.00                  $0.00         $5,000.00
IRS
Priority Creditor's Name                                    Last 4 digits of account number
Dept. of Treasury                                           When was the debt incurred?         2018
Number       Street
                                                            As of the date you file, the claim is: Check all that apply.
                                                             Contingent
Austin                           TX      73301               Unliquidated
City                             State   ZIP Code            Disputed
Who incurred the debt?     Check one.                       Type of PRIORITY unsecured claim:
 Debtor 1 only                                              Domestic support obligations
 Debtor 2 only                                              Taxes and certain other debts you owe the government
 Debtor 1 and Debtor 2 only                                 Claims for death or personal injury while you were
 At least one of the debtors and another                      intoxicated
    Check if this claim is for a community debt
                                                             Other. Specify
Is the claim subject to offset?
 No
 Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1
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Debtor 1       Jeffrey W Hightower, Jr.
Debtor 2       Kimberly Jill Hightower                                                          Case number (if known)

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.
           Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                          $5,000.62
American Express Plum                                       Last 4 digits of account number         1     0    1    2
Nonpriority Creditor's Name
                                                            When was the debt incurred?
PO Box 650448
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
Dallas                          TX      75265-0448
                                                             Disputed
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                             Student loans
                                                            Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                                that you did not report as priority claims
 Debtor 1 and Debtor 2 only                                 Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                    Other. Specify
      Check if this claim is for a community debt               Credit card purchases
Is the claim subject to offset?
 No
 Yes
     4.2                                                                                                                                        $44,935.70
American Express SimplyCash                                 Last 4 digits of account number         3     0    0    5
Nonpriority Creditor's Name
                                                            When was the debt incurred?
PO Box 650448
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
Dallas                          TX      75265-0448
                                                             Disputed
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                             Student loans
 Debtor 1 only                                              Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                                that you did not report as priority claims
 Debtor 1 and Debtor 2 only                                 Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                    Other. Specify
      Check if this claim is for a community debt               Credit card purchases
Is the claim subject to offset?
 No
 Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2
              Case 19-32779-hdh7 Doc 1 Filed 08/21/19                            Entered 08/21/19 17:03:15                 Page 28 of 65
Debtor 1       Jeffrey W Hightower, Jr.
Debtor 2       Kimberly Jill Hightower                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.3                                                                                                                               $316.05
American Medical Collection Agency                       Last 4 digits of account number       1    6    4    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/24/2018
PO Box 1235
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Elmsford                      NY      10523-0935
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                          Student loans
                                                         Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Services
Is the claim subject to offset?
 No
 Yes
Clinical Pathology Laboratories
   4.4                                                                                                                                $62.92
Arbor Medical and Pathology                              Last 4 digits of account number       9    9    3    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/24/2018
PO Box 840127
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Dallas                        TX      75284
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                          Student loans
                                                         Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Services
Is the claim subject to offset?
 No
 Yes
   4.5                                                                                                                             $1,557.83
Arhaus                                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
8200 Haverstick Road, Suite 220
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Indianapolis                  IN      46240
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Goods and/or services rendered
Is the claim subject to offset?
 No
 Yes

Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 3
              Case 19-32779-hdh7 Doc 1 Filed 08/21/19                            Entered 08/21/19 17:03:15                 Page 29 of 65
Debtor 1       Jeffrey W Hightower, Jr.
Debtor 2       Kimberly Jill Hightower                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.6                                                                                                                           $10,108.96
Bank of America                                          Last 4 digits of account number       3    8    8    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 15019
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Wilmington                    DE      19850-5019
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                          Student loans
                                                         Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Credit card purchases
Is the claim subject to offset?
 No
 Yes
   4.7                                                                                                                           $53,145.47
Barclays LuxuryCard                                      Last 4 digits of account number       1    3    8    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 60517
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
City of Industry              CA      91716-0517
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Credit card purchases
Is the claim subject to offset?
 No
 Yes
   4.8                                                                                                                           $71,227.71
BBVA Compass                                             Last 4 digits of account number       7    6    8    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 10566
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Birmingham                    AL      35296
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business line of credit
Is the claim subject to offset?
 No
 Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 4
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Debtor 1       Jeffrey W Hightower, Jr.
Debtor 2       Kimberly Jill Hightower                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.9                                                                                                                               $179.20
Caine & Weiner                                           Last 4 digits of account number       7    4    1    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
12005 Ford Rd.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 300                                                 Contingent
                                                          Unliquidated
Dallas                        TX      75234
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                          Student loans
                                                         Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Collecting for -Carrell Clinic
Is the claim subject to offset?
 No
 Yes
Carrell Clinic acct #337915
  4.10                                                                                                                           $28,406.26
Capital One                                              Last 4 digits of account number       2    1    9    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 60599
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
City of Industry              CA      91716-0599
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                          Student loans
                                                         Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Credit card purchases
Is the claim subject to offset?
 No
 Yes
  4.11                                                                                                                           $28,100.64
Capital One                                              Last 4 digits of account number       5    3    8    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 60599
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
City of Industry              CA      91716-0599
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Credit card purchases
Is the claim subject to offset?
 No
 Yes

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Debtor 1       Jeffrey W Hightower, Jr.
Debtor 2       Kimberly Jill Hightower                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.12                                                                                                                           $18,812.43
Chase Ink                                                Last 4 digits of account number       6    8    5    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 6294
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Carol Stream                  IL      60197-6294
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                          Student loans
                                                         Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Credit card purchases
Is the claim subject to offset?
 No
 Yes
  4.13                                                                                                                           $21,508.63
Citi Aadvantage                                          Last 4 digits of account number       3    5    6    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        1/1/2014
PO Box 78045
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Phoenix                       AZ      85062-8045
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Credit card purchases
Is the claim subject to offset?
 No
 Yes
  4.14                                                                                                                          $156,492.95
Citi Aadvantage Executive                                Last 4 digits of account number       4    2    1    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 6077
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Sioux Falls                   SD      57117-6077
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Credit card purchases
Is the claim subject to offset?
 No
 Yes


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Debtor 1       Jeffrey W Hightower, Jr.
Debtor 2       Kimberly Jill Hightower                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.15                                                                                                                           $21,798.67
Citi Diamond Preferred Card                              Last 4 digits of account number       2    3    6    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        1/1/2017
PO Box 78045
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Phoenix                       AZ      85062-8045
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                          Student loans
                                                         Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Credit card purchases
Is the claim subject to offset?
 No
 Yes
  4.16                                                                                                                             $5,842.16
Commerce Bank                                            Last 4 digits of account number       1    5    6    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 410857
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Kansas City                   MO      64141-0857
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Credit card purchases
Is the claim subject to offset?
 No
 Yes
  4.17                                                                                                                             $1,672.78
Cox Health                                               Last 4 digits of account number       4    6    5    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        6/22/2018
PO Box 505398
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
St. Louis                     MO      63150-5398
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Services
Is the claim subject to offset?
 No
 Yes


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Debtor 1       Jeffrey W Hightower, Jr.
Debtor 2       Kimberly Jill Hightower                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.18                                                                                                                               $520.70
Credence Resource Management, LLC                        Last 4 digits of account number       7    8    5    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        7/27/18-7/28/18
PO Box 2090
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Southgate                     MI      48195-4090
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                          Student loans
                                                         Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Collecting for - Preston Inpatient Services
Is the claim subject to offset?
 No
 Yes
Preston Inpatient Services acct # 00010497097 0029185
  4.19                                                                                                                             $1,665.53
Credit Bureau Systems, Inc.                              Last 4 digits of account number       7    7    7    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 9200
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Paducah                       KY      42002-9200
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                          Student loans
                                                         Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Collections
Is the claim subject to offset?
 No
 Yes
  4.20                                                                                                                               $240.88
Credit Protection Association, LP                        Last 4 digits of account number       4    0    1    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/31/2017
PO Box 207899
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Dallas                        TX      75230-7899
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Collecting for - NTTA
Is the claim subject to offset?
 No
 Yes

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Debtor 1       Jeffrey W Hightower, Jr.
Debtor 2       Kimberly Jill Hightower                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.21                                                                                                                             $1,686.28
Dallas County Tax Office/Linebarger Gogg                 Last 4 digits of account number       0    0    0    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        1/1/2014
2777 N. Stemmons Freeway
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 1000                                                Contingent
                                                          Unliquidated
Dallas                        TX      75207
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                          Student loans
                                                         Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Taxes
Is the claim subject to offset?
 No
 Yes
HLG Property Tax
  4.22                                                                                                                               $607.70
Davinci Virtual Office                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Tucker, Albin & Associates, Inc.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
1702 N. Collins Blvd, Suite 100                           Contingent
                                                          Unliquidated
Richardson                    TX      75080
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                          Student loans
                                                         Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Goods and/or services rendered
Is the claim subject to offset?
 No
 Yes
  4.23                                                                                                                             $9,269.10
Fredericks Square Title Holdings Co., In                 Last 4 digits of account number       r    o    u    p
Nonpriority Creditor's Name
                                                         When was the debt incurred?        7/1/19-10/1/19
8011 Douglas Ave.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Dallas                        TX      75225
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Rent
Is the claim subject to offset?
 No
 Yes
Unpaid office rent

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Debtor 1       Jeffrey W Hightower, Jr.
Debtor 2       Kimberly Jill Hightower                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.24                                                                                                                          $344,926.38
Frost Bank                                               Last 4 digits of account number       9    0    0    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        6/1/2014
100 W. Houston St.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
San Antonio                   TX      78205
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                          Student loans
                                                         Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business Loan
Is the claim subject to offset?
 No
 Yes
  4.25                                                                                                                           $74,126.72
Frost Bank                                               Last 4 digits of account number       9    0    0    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        9/17/2018
100 W. Houston St.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
San Antonio                   TX      78205
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Loan
Is the claim subject to offset?
 No
 Yes
  4.26                                                                                                                               $904.86
GC Services Limited Partnership                          Last 4 digits of account number       4    6    6    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        9/1/2018
6330 Gulfton
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Houston                       TX      77081
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Collecting for - TXU
Is the claim subject to offset?
 No
 Yes


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Debtor 1       Jeffrey W Hightower, Jr.
Debtor 2       Kimberly Jill Hightower                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.27                                                                                                                             $6,563.77
Highland Park Emergency                                  Last 4 digits of account number       9    4    5    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        5/13/2018
PO Box 1144
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Dept. 600                                                 Contingent
                                                          Unliquidated
Houston                       TX      77251-1144
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                          Student loans
                                                         Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Services
Is the claim subject to offset?
 No
 Yes
  4.28                                                                                                                               $807.49
Highland Park Emergency                                  Last 4 digits of account number       0    7    0    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        6/24/2018
PO Box 1144
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Dept. 600                                                 Contingent
                                                          Unliquidated
Houston                       TX      77251-1144
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Services
Is the claim subject to offset?
 No
 Yes
  4.29                                                                                                                             $2,447.59
Highland Park Emergency                                  Last 4 digits of account number       0    7    0    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        6/24/2018
PO Box 1144
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Dept. 600                                                 Contingent
                                                          Unliquidated
Houston                       TX      77251-1144
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Services
Is the claim subject to offset?
 No
 Yes


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Debtor 1       Jeffrey W Hightower, Jr.
Debtor 2       Kimberly Jill Hightower                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.30                                                                                                                           $50,000.00
Linda Perry                                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2906 Cherry Lane
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Austin                        TX      78703
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                          Student loans
                                                         Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business loan
Is the claim subject to offset?
 No
 Yes
  4.31                                                                                                                             $3,983.08
Med Hawaii, Inc.                                         Last 4 digits of account number       7    0    3    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        6/29/2018
PO Box 8488
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Philadelphi                   PA      19101-8488
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Services
Is the claim subject to offset?
 No
 Yes
  4.32                                                                                                                               $148.57
North Central Surgical Center                            Last 4 digits of account number       4    3    0    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        5/29/2018
PO Box 840494
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Dallas                        TX      75284-0494
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Services
Is the claim subject to offset?
 No
 Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                    page 12
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Debtor 1       Jeffrey W Hightower, Jr.
Debtor 2       Kimberly Jill Hightower                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.33                                                                                                                               $142.00
Orthopedic Manual Physical Therapy Insti                 Last 4 digits of account number       2    8    8    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        8/7/18-8/9/18
PO Box 674200
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Dallas                        TX      75267-4200
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                          Student loans
                                                         Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Services
Is the claim subject to offset?
 No
 Yes
  4.34                                                                                                                           $16,842.75
Prime Financial Services                                 Last 4 digits of account number       9    7    0    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        7/27/18-7/28/18
4040 N. Central Expy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 600                                                 Contingent
                                                          Unliquidated
Dallas                        TX      75204-3174
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Collecting for -Methodist Hospital
Is the claim subject to offset?
 No
 Yes
  4.35                                                                                                                               $455.00
Radiology Associates of North Texas                      Last 4 digits of account number       T    C    R    A
Nonpriority Creditor's Name
                                                         When was the debt incurred?        7/27/2018
PO Box 1723
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Indianapolis                  IN      46206
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Services
Is the claim subject to offset?
 No
 Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                    page 13
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Debtor 1       Jeffrey W Hightower, Jr.
Debtor 2       Kimberly Jill Hightower                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.36                                                                                                                             $8,023.25
Synerprise Consulting Services                           Last 4 digits of account number       0    4    3    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        5/30/16-7/27/18
PO Box 957
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Shawnee Mission               KS      66201-0957
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                          Student loans
                                                         Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Services
Is the claim subject to offset?
 No
 Yes
  4.37                                                                                                                           $50,000.00
Tommy Barnhart Trust                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Bobby Barnhart
Number        Street                                     As of the date you file, the claim is: Check all that apply.
1769 Royalsborough Road                                   Contingent
                                                          Unliquidated
Durham                        ME      04222
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Business loan
Is the claim subject to offset?
 No
 Yes
  4.38                                                                                                                               $174.00
Transworld Systems, Inc.                                 Last 4 digits of account number       1    6    5    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        4/21/2019
PO Box 17221
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Wilmington                    DE      19850
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Collecting for -Minute Clinic of Texas
Is the claim subject to offset?
 No
 Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                    page 14
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Debtor 1       Jeffrey W Hightower, Jr.
Debtor 2       Kimberly Jill Hightower                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.39                                                                                                                           $14,221.43
US Bank                                                  Last 4 digits of account number       1    1    9    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 790408
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
St. Louis                     MO      63179-0408
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                          Student loans
                                                         Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Credit card purchases
Is the claim subject to offset?
 No
 Yes
  4.40                                                                                                                           $10,211.77
USAA Federal Savings Bank                                Last 4 digits of account number       8    8    1    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
10750 McDermott Freeway
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
San Antonio                   TX      78288-0570
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Credit card purchases
Is the claim subject to offset?
 No
 Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                    page 15
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Debtor 1       Jeffrey W Hightower, Jr.
Debtor 2       Kimberly Jill Hightower                                                    Case number (if known)

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


GC Services Limited                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 3855                                                 Line   4.13 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims


                                                            Last 4 digits of account number
Houston                         TX      77253
City                            State   ZIP Code


Joshua Shepherd                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
2001 Bryan Street, Suite 1800                               Line   4.25 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims


                                                            Last 4 digits of account number
Dallas                          TX      75201
City                            State   ZIP Code


Joshua Shepherd                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
2001 Bryan Street, Suite 1800                               Line   4.24 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Dallas                          TX      75201
City                            State   ZIP Code


The Degrasse Law Firm, PC                                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1800 Bering Drive, Suite 1000                               Line   4.2 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims


                                                            Last 4 digits of account number
Houston                         TX      77057
City                            State   ZIP Code


United Collection Bureau                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
5620 Southwyck Blvd, Suite 206                              Line   4.14 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims


                                                            Last 4 digits of account number
Toledo                          OH      43614
City                            State   ZIP Code




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 16
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Debtor 1       Jeffrey W Hightower, Jr.
Debtor 2       Kimberly Jill Hightower                                                  Case number (if known)

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                                Total claim

Total claims       6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                   6b. Taxes and certain other debts you owe the government                           6b.              $5,000.00

                   6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                   6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                   6e. Total.     Add lines 6a through 6d.                                            6d.              $5,000.00




                                                                                                                Total claim

Total claims       6f.   Student loans                                                                6f.                     $0.00
from Part 2
                   6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                       that you did not report as priority claims

                   6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                       debts

                   6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +      $1,067,137.83


                   6j.   Total.   Add lines 6f through 6i.                                            6j.          $1,067,137.83




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                       page 17
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 Fill in this information to identify your case:
 Debtor 1            Jeffrey              W                      Hightower, Jr.
                     First Name           Middle Name            Last Name

 Debtor 2            Kimberly             Jill                   Hightower
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
 (if known)                                                                                                        Check if this is an
                                                                                                                    amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?

         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

         Person or company with whom you have the contract or lease                  State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
            Case 19-32779-hdh7 Doc 1 Filed 08/21/19                                       Entered 08/21/19 17:03:15                Page 44 of 65
 Fill in this information to identify your case:
 Debtor 1             Jeffrey                W                           Hightower, Jr.
                      First Name             Middle Name                 Last Name

 Debtor 2            Kimberly                Jill                        Hightower
 (Spouse, if filing) First Name              Middle Name                 Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
 (if known)                                                                                                              Check if this is an
                                                                                                                          amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?          (If you are filing a joint case, do not list either spouse as a codebtor.)
      No
      Yes
2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

         No. Go to line 3.
         Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
           No
           Yes
               In which community state or territory did you live?                   Texas     Fill in the name and current address of that person.

               Kimberly Hightower
               Name of your spouse, former spouse, or legal equivalent
               4557 S Versailles Ave
               Number        Street


               Dallas                                          TX              75205
               City                                            State           ZIP Code

3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt

                                                                                                Check all schedules that apply:




Official Form 106H                                              Schedule H: Your Codebtors                                                            page 1
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 Fill in this information to identify your case:
     Debtor 1              Jeffrey              W                      Hightower, Jr.
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2              Kimberly             Jill                   Hightower                                An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name                           
                                                                                                               A supplement showing postpetition
     United States Bankruptcy Court for the:   NORTHERN DISTRICT OF TEXAS
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status            Employed                                          Employed
      with information about                                         Not employed                                      Not employed
      additional employers.
                                        Occupation             Attorney                                           Paralegal
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Hightower Law Group, PLLC                          Hightower Law Group, PLLC

      Occupation may include            Employer's address
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               City                         State    Zip Code     City                   State   Zip Code

                                        How long employed there?


 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                  $9,000.00                  $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +               $0.00                  $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.               $9,000.00                  $0.00




Official Form 106I                                            Schedule I: Your Income                                                                page 1
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Debtor 1        Jeffrey W Hightower, Jr.
Debtor 2        Kimberly Jill Hightower                                                                                      Case number (if known)
                                                                                                                    For Debtor 1         For Debtor 2 or
                                                                                                                                         non-filing spouse
     Copy line 4 here .................................................................................    4.          $9,000.00                 $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.             $0.00                 $0.00
     5b. Mandatory contributions for retirement plans                                                       5b.             $0.00                 $0.00
     5c. Voluntary contributions for retirement plans                                                       5c.             $0.00                 $0.00
     5d. Required repayments of retirement fund loans                                                       5d.             $0.00                 $0.00
     5e. Insurance                                                                                          5e.             $0.00                 $0.00
     5f. Domestic support obligations                                                                       5f.             $0.00                 $0.00
     5g. Union dues                                                                                         5g.             $0.00                 $0.00
     5h. Other deductions.
          Specify:                                                                                          5h. +           $0.00                 $0.00
6.   Add the payroll deductions.                   Add lines 5a + 5b + 5c + 5d + 5e + 5f +                  6.              $0.00                 $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.          7.          $9,000.00                 $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.             $0.00                 $0.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.
     8b. Interest and dividends                                                                             8b.             $0.00                 $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.             $0.00                 $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                          8d.             $0.00                 $0.00
     8e. Social Security                                                                                    8e.             $0.00                 $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.             $0.00                 $0.00
     8g. Pension or retirement income                                                                       8g.             $0.00                 $0.00
     8h. Other monthly income.
         Specify:                                                                                           8h. +           $0.00                 $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.              $0.00                 $0.00

10. Calculate monthly income. Add line 7 + line 9.                                                          10.         $9,000.00    +            $0.00      =       $9,000.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                         11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                         12.            $9,000.00
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                               Combined
                                                                                                                                                                 monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     No.             None.
           Yes. Explain:




Official Form 106I                                                                  Schedule I: Your Income                                                               page 2
              Case 19-32779-hdh7 Doc 1 Filed 08/21/19                                Entered 08/21/19 17:03:15                   Page 47 of 65
 Fill in this information to identify your case:
                                                                                                        Check if this is:
     Debtor 1              Jeffrey                W                      Hightower, Jr.                  An amended filing
                           First Name             Middle Name            Last Name
                                                                                                         A supplement showing postpetition
                                                                                                            chapter 13 expenses as of the
     Debtor 2              Kimberly               Jill                   Hightower
     (Spouse, if filing)   First Name             Middle Name            Last Name                          following date:

     United States Bankruptcy Court for the:    NORTHERN DISTRICT OF TEXAS                                    MM / DD / YYYY
     Case number
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                 No
                 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                 No
                                                                                      Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                Yes. Fill out this information
                                               for each dependent.................... Debtor 1 or Debtor 2           age              live with you?
      Debtor 2.
                                                                                  son                                8                   No

      Do not state the dependents'
                                                                                                                                         Yes

      names.                                                                      daughter                           6                   No
                                                                                                                                         Yes

                                                                                                                                         No
                                                                                                                                         Yes

                                                                                                                                         No
                                                                                                                                         Yes

                                                                                                                                         No
                                                                                                                                         Yes
3.    Do your expenses include                       No
      expenses of people other than
      yourself and your dependents?
                                                     Yes



 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                     Your expenses

4.    The rental or home ownership expenses for your residence.                                                     4.                    $5,604.06
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                         4a.

      4b. Property, homeowner's, or renter's insurance                                                              4b.                    $225.00
      4c. Home maintenance, repair, and upkeep expenses                                                             4c.                    $200.00
      4d. Homeowner's association or condominium dues                                                               4d.




 Official Form 106J                                             Schedule J: Your Expenses                                                       page 1
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Debtor 1      Jeffrey W Hightower, Jr.
Debtor 2      Kimberly Jill Hightower                                                   Case number (if known)

                                                                                                           Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                      5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                              6a.                   $400.00
     6b. Water, sewer, garbage collection                                                            6b.                   $250.00
     6c. Telephone, cell phone, Internet, satellite, and                                             6c.                   $100.00
         cable services
     6d. Other. Specify:                                                                             6d.

7.   Food and housekeeping supplies                                                                  7.                    $600.00
8.   Childcare and children's education costs                                                        8.                    $100.00
9.   Clothing, laundry, and dry cleaning                                                             9.                    $100.00
10. Personal care products and services                                                              10.                    $50.00
11. Medical and dental expenses                                                                      11.                   $250.00
12. Transportation. Include gas, maintenance, bus or train                                           12.                   $500.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                    13.                   $100.00
    magazines, and books
14. Charitable contributions and religious donations                                                 14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                           15a.

     15b.   Health insurance                                                                         15b.                  $250.00
     15c.   Vehicle insurance                                                                        15c.                  $250.00
     15d.   Other insurance. Specify:                                                                15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                         16.                     $0.00
17. Installment or lease payments:

     17a.   Car payments for Vehicle 1                                                               17a.                  $795.00
     17b.   Car payments for Vehicle 2                                                               17b.

     17c.   Other. Specify:                                                                          17c.

     17d.   Other. Specify:                                                                          17d.

18. Your payments of alimony, maintenance, and support that you did not report as                    18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                         19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.   Mortgages on other property                                                              20a.

     20b.   Real estate taxes                                                                        20b.

     20c.   Property, homeowner's, or renter's insurance                                             20c.

     20d.   Maintenance, repair, and upkeep expenses                                                 20d.

     20e.   Homeowner's association or condominium dues                                              20e.



 Official Form 106J                                        Schedule J: Your Expenses                                          page 2
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Debtor 1      Jeffrey W Hightower, Jr.
Debtor 2      Kimberly Jill Hightower                                                          Case number (if known)

21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.             $9,774.06
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.             $9,774.06

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.             $9,000.00
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –         $9,774.06
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.             ($774.06)

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

          No.
          Yes. Explain here:
                None.




 Official Form 106J                                         Schedule J: Your Expenses                                             page 3
             Case 19-32779-hdh7 Doc 1 Filed 08/21/19                                                 Entered 08/21/19 17:03:15                                   Page 50 of 65
 Fill in this information to identify your case:
 Debtor 1               Jeffrey                      W                           Hightower, Jr.
                        First Name                   Middle Name                 Last Name

 Debtor 2            Kimberly                        Jill                        Hightower
 (Spouse, if filing) First Name                      Middle Name                 Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
 (if known)                                                                                                                                      Check if this is an
                                                                                                                                                  amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                             Your assets
                                                                                                                                                             Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)

     1a. Copy line 55, Total real estate, from Schedule A/B...................................................................................................       $1,173,000.00


     1b. Copy line 62, Total personal property, from Schedule A/B........................................................................................                $96,669.21


     1c. Copy line 63, Total of all property on Schedule A/B..................................................................................................       $1,269,669.21


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.....                                         $1,079,823.59

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.....................................                                  $5,000.00


     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................. +                                $1,067,137.83



                                                                                                                             Your total liabilities                  $2,151,961.42




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
     Copy your combined monthly income from line 12 of Schedule I......................................................................................                   $9,000.00

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J................................................................................................               $9,774.06




Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                                                            page 1
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Debtor 1      Jeffrey W Hightower, Jr.
Debtor 2      Kimberly Jill Hightower                                                      Case number (if known)


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

          No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
          Yes


7.   What kind of debt do you have?

          Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

          Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

     9d. Student loans. (Copy line 6f.)

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +

     9g. Total.    Add lines 9a through 9f.




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
            Case 19-32779-hdh7 Doc 1 Filed 08/21/19                            Entered 08/21/19 17:03:15                  Page 52 of 65
 Fill in this information to identify your case:
 Debtor 1          Jeffrey               W                     Hightower, Jr.
                   First Name            Middle Name           Last Name

 Debtor 2            Kimberly            Jill                  Hightower
 (Spouse, if filing) First Name          Middle Name           Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
 (if known)                                                                                                     Check if this is an
                                                                                                                 amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                         12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



              Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

        No

        Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer's Notice,
                                                                                                 Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Jeffrey W Hightower, Jr.                            X /s/ Kimberly Jill Hightower
        Jeffrey W Hightower, Jr., Debtor 1                       Kimberly Jill Hightower, Debtor 2

        Date 08/21/2019                                          Date 08/21/2019
             MM / DD / YYYY                                           MM / DD / YYYY




Official Form 106Dec                            Declaration About an Individual Debtor's Schedules                                         page 1
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)



    This notice is for you if:                                  Chapter 7: Liquidation
     You are an individual filing for bankruptcy,
      and                                                              $245    filing fee
                                                                        $75    administrative fee
     Your debts are primarily consumer debts.                  +       $15    trustee surcharge
      Consumer debts are defined in 11 U.S.C. § 101(8)
                                                                       $335    total fee
      as "incurred by an individual primarily for a
      personal, family, or household purpose."
                                                                Chapter 7 is for individuals who have financial difficulty
                                                                preventing them from paying their debts and who are
                                                                willing to allow their non-exempt property to be used to
The types of bankruptcy that are available                      pay their creditors. The primary purpose of filing under
to individuals                                                  chapter 7 is to have your debts discharged. The
                                                                bankruptcy discharge relieves you after bankruptcy from
                                                                having to pay many of your pre-bankruptcy debts.
                                                                Exceptions exist for particular debts, and liens on
Individuals who meet the qualifications may file under one
                                                                property may still be enforced after discharge. For
of four different chapters of the Bankruptcy Code:
                                                                example, a creditor may have the right to foreclose a
                                                                home mortgage or repossess an automobile.
    Chapter 7 -- Liquidation
                                                                However, if the court finds that you have committed
    Chapter 11 -- Reorganization                               certain kinds of improper conduct described in the
                                                                Bankruptcy Code, the court may deny your discharge.
    Chapter 12 -- Voluntary repayment plan for family
                   farmers or fishermen                         You should know that the even if you file chapter 7 and
                                                                you receive a discharge, some debts are not discharged
                                                                under the law. Therefore, you may still be responsible to
    Chapter 13 -- Voluntary repayment plan for
                                                                pay:
                   individuals with regular income
                                                                    most taxes;
You should have an attorney review your                             most student loans;
decision to file for bankruptcy and the choice
of chapter.                                                         domestic support and property settlement obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                             page 1
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   most fines, penalties, forfeitures, and criminal            for your state of residence and family size, depending
    restitution obligations; and                                on the results of the Means Test, the U.S. trustee,
                                                                bankruptcy administrator, or creditors can file a motion to
   certain debts that are not listed in your bankruptcy        dismiss your case under § 707(b) of the Bankruptcy
    papers.                                                     Code. If a motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal, you may
You may also be required to pay debts arising from:             choose to proceed under another chapter of the
                                                                Bankruptcy Code.
   fraud or theft;
                                                                If you are an individual filing for chapter 7 bankruptcy, the
   fraud or defalcation while acting in breach of fiduciary
                                                                trustee may sell your property to pay your debts, subject
    capacity;
                                                                to your right to exempt the property or a portion of the
                                                                proceeds from the sale of the property. The property,
   intentional injuries that you inflicted; and
                                                                and the proceeds from property that your bankruptcy
   death or personal injury caused by operating a motor        trustee sells or liquidates that you are entitled to, is
    vehicle, vessel, or aircraft while intoxicated from         called exempt property. Exemptions may enable you to
    alcohol or drugs.                                           keep your home, a car, clothing, and household items or
                                                                to receive some of the proceeds if the property is sold.
If your debts are primarily consumer debts, the court can
dismiss your chapter 7 case if it finds that you have           Exemptions are not automatic. To exempt property, you
enough income to repay creditors a certain amount. You          must list it on Schedule C: The Property You Claim as
must file Chapter 7 Statement of Your Current Monthly           Exempt (Official Form 106C). If you do not list the
Income (Official Form 122A-1) if you are an individual filing   property, the trustee may sell it and pay all of the
for bankruptcy under chapter 7. This form will determine        proceeds to your creditors.
your current monthly income and compare whether your
income is more than the median income that applies in
your state.

If your income is not above the median for your state,
                                                                Chapter 11: Reorganization
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form                  $1,167    filing fee
122A-2).                                                               $550    administrative fee
                                                                +
If your income is above the median for your state, you must          $1,717    total fee
file a second form--the Chapter 7 Means Test Calculation
(Official Form 122A-2). The calculations on the form--          Chapter 11 is often used for reorganizing a business, but
sometimes called the Means Test-- deduct from your              is also available to individuals. The provisions of chapter
income living expenses and payments on certain debts to         11 are too complicated to summarize briefly.
determine any amount available to pay unsecured
creditors. If your income is more than the median income




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                               page 2
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        Read These Important Warnings

        Because bankruptcy can have serious long-term financial and legal consequences, including loss of
        your property, you should hire an attorney and carefully consider all of your options before you file.
        Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
        and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
        properly and protect you, your family, your home, and your possessions.

        Although the law allows you to represent yourself in bankruptcy court, you should understand that
        many people find it difficult to represent themselves successfully. The rules are technical, and a
        mistake or inaction may harm you. If you file without an attorney, you are still responsible for
        knowing and following all of the legal requirements.

        You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
        necessary documents.

        Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
        bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
        fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
        to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                Under chapter 13, you must file with the court a plan to
Chapter 12: Repayment plan for family farmers                   repay your creditors all or part of the money that you owe
            or fishermen                                        them, usually using your future earnings. If the court
                                                                approves your plan, the court will allow you to repay your
                                                                debts, as adjusted by the plan, within 3 years or 5 years,
        $200   filing fee                                       depending on your income and other factors.
+        $75   administrative fee
                                                                After you make all the payments under your plan, many
        $275   total fee
                                                                of your debts are discharged. The debts that are not
                                                                discharged and that you may still be responsible to pay
Similar to chapter 13, chapter 12 permits family farmers
                                                                include:
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.                                                       domestic support obligations,
                                                                    most student loans,
                                                                    certain taxes,
Chapter 13: Repayment plan for individuals with
            regular income                                          debts for fraud or theft,
                                                                    debts for fraud or defalcation while acting in a
                                                                     fiduciary capacity,
          $235    filing fee
    +      $75    administrative fee
                                                                    most criminal fines and restitution obligations,
          $310    total fee
                                                                    certain debts that are not listed in your bankruptcy
                                                                     papers,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
                                                                    certain debts for acts that caused death or personal
installments over a period of time and to discharge
                                                                     injury, and
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
                                                                    certain long-term secured debts.
dollar amounts set forth in 11 U.S.C. § 109.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                 page 3
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                                                                A married couple may file a bankruptcy case together--
    Warning: File Your Forms on Time                            called a joint case. If you file a joint case and each
                                                                spouse lists the same mailing address on the
    Section 521(a)(1) of the Bankruptcy Code requires           bankruptcy petition, the bankruptcy court generally will
    that you promptly file detailed information about           mail you and your spouse one copy of each notice,
    your creditors, assets, liabilities, income, expenses       unless you file a statement with the court asking that
    and general financial condition. The court may              each spouse receive separate copies.
    dismiss your bankruptcy case if you do not file this
    information within the deadlines set by the
    Bankruptcy Code, the Bankruptcy Rules, and local
    rules of the court.                                         Understand which services you could
                                                                receive from credit counseling agencies
    For more information about the documents and
    their deadlines, go to:
                                                                The law generally requires that you receive a credit
    http://www.uscourts.gov/bkforms/bankruptcy_forms            counseling briefing from an approved credit counseling
    .html#procedure.                                            agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                case, both spouses must receive the briefing. With
                                                                limited exceptions, you must receive it within the 180
                                                                days before you file your bankruptcy petition. This
Bankruptcy crimes have serious                                  briefing is usually conducted by telephone or on the
consequences                                                    Internet.

    If you knowingly and fraudulently conceal assets or        In addition, after filing a bankruptcy case, you generally
     make a false oath or statement under penalty of            must complete a financial management instructional
     perjury--either orally or in writing--in connection with   course before you can receive a discharge. If you are
     a bankruptcy case, you may be fined, imprisoned, or        filing a joint case, both spouses must complete the
     both.                                                      course.

                                                                You can obtain the list of agencies approved to provide
    All information you supply in connection with a            both the briefing and the instructional course from:
     bankruptcy case is subject to examination by the
     Attorney General acting through the Office of the          http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
     U.S. Trustee, the Office of the U.S. Attorney, and
     other offices and employees of the U.S. Department         In Alabama and North Carolina, go to:
     of Justice.                                                http://www.uscourts.gov/FederalCourts/Bankruptcy/Bankru
                                                                ptcyResources/ApprovedCreditAndDebtCounselors.aspx.

Make sure the court has your mailing
address                                                         If you do not have access to a computer, the clerk of the
                                                                bankruptcy court may be able to help you obtain the list.
The bankruptcy court sends notices to the mailing address
you list on Voluntary Petition for Individuals Filing for
Bankruptcy (Official Form 101). To ensure you receive
information about your case, Bankruptcy Rule 4002
requires that you notify the court of any changes in your
address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                              page 4
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B2030 (Form 2030) (12/15)
                                                         UNITED STATES BANKRUPTCY COURT
                                                            NORTHERN DISTRICT OF TEXAS
                                                                  DALLAS DIVISION
In re Jeffrey W Hightower, Jr.                                                                                                    Case No.
      Kimberly Jill Hightower
                                                                                                                                  Chapter     7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept..................................................................                          $6,000.00
     Prior to the filing of this statement I have received.......................................................                           $6,000.00
     Balance Due...................................................................................................................               $0.00

2. The source of the compensation paid to me was:
                      Debtor                                  Other (specify)

3. The source of compensation to be paid to me is:
                      Debtor                                  Other (specify)

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

          I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                   08/21/2019                         /s/ Howard Marc Spector
                      Date                            Howard Marc Spector                        Bar No. 00785023
                                                      Spector & Johnson, PLLC
                                                      12770 Coit Road
                                                      Suite 1100
                                                      Dallas, TX 75251
                                                      Phone: (214) 365-5377 / Fax: (214) 237-3380
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                                      UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                               DALLAS DIVISION
  IN RE:   Jeffrey W Hightower, Jr.                                                 CASE NO
           Kimberly Jill Hightower
                                                                                    CHAPTER          7

                                      VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 8/21/2019                                           Signature    /s/ Jeffrey W Hightower, Jr.
                                                                     Jeffrey W Hightower, Jr.



Date 8/21/2019                                           Signature    /s/ Kimberly Jill Hightower
                                                                     Kimberly Jill Hightower
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                       American Express Plum
                       PO Box 650448
                       Dallas, TX 75265-0448



                       American Express SimplyCash
                       PO Box 650448
                       Dallas, TX 75265-0448



                       American Medical Collection Agency
                       PO Box 1235
                       Elmsford, NY 10523-0935



                       Arbor Medical and Pathology
                       PO Box 840127
                       Dallas, TX 75284



                       Arhaus
                       8200 Haverstick Road, Suite 220
                       Indianapolis, IN 46240



                       Bank of America
                       PO Box 15019
                       Wilmington, DE 19850-5019



                       Barclays LuxuryCard
                       PO Box 60517
                       City of Industry, CA 91716-0517



                       BBVA Compass
                       PO Box 10566
                       Birmingham, AL 35296



                       Caine & Weiner
                       12005 Ford Rd.
                       Suite 300
                       Dallas, TX 75234
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                       Capital One
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